Case 1:19-bk-10059-VK         Doc 160 Filed 06/21/21 Entered 06/21/21 15:54:21                        Desc
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                           UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                             SAN FERNANDO VALLEY DIVISION

In re:      AURORA FRIAS LEE-NELSON                              &DVH1R1:19-bk-10059-VK
                                                                 
                                                                 
Debtor(s)                                                        


           CHAPTER 7 TRUSTEE¶S FINAL ACCOUNT AND DISTRIBUTION
    REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

       David K. Gottlieb, chapter 7 trustee, submits this Final Account, Certification that the Estate has
been Fully Administered and Application to be Discharged.

          $OOIXQGVRQKDQGKDYHEHHQGLVWULEXWHGLQDFFRUGDQFHZLWKWKH7UXVWHH¶s Final Report and, if
DSSOLFDEOHDQ\RUGHURIWKH&RXUWPRGLI\LQJWKH)LQDO5HSRUW7KHFDVHLVIXOO\DGPLQLVWHUHGDQGDOO
assets and funds which have come under the trustee¶s control in this case have been properly accounted
IRUDVSURYLGHGE\ODZ7KHWUXVWHHKHUHE\UHTXHVWVWREHGLVFKDUJHGIURPIXUWKHUGXWLHVDVDWUXVWHH

         $VXPPDU\RIDVVHWVDEDQGRQHGDVVHWVH[HPSWWRWDOGLVWULEXWLRQVWRFODLPDQWVFODLPV
discharged without payment, and expenses of administration is provided below:




 Assets Abandoned: $252,280.00                                Assets Exempt:       $0.00
 (without deducting any secured claims)

 Total Distribution to Claimants:     $1,127,599.28           Claims Discharged
                                                              Without Payment: $568,590.36

 Total Expenses of Administration: $277,400.72


          7RWDOJURVVUHFHLSWVRI$1,405,000.00 (see Exhibit 1), minus funds paid to the debtor and
third parties of $0.00 (see Exhibit 2), yielded net receipts of $1,405,000.00 from liquidation of the
property of the estate, which was distributed as follows:




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                                            CLAIMS            CLAIMS             CLAIMS            CLAIMS
                                          SCHEDULED          ASSERTED           ALLOWED             PAID

 SECURED CLAIMS
 (from Exhibit 3)                             1,884,312.00       1,396,272.66       1,064,266.11    1,064,266.11

 PRIORITY CLAIMS
     CHAPTER 7 ADMIN. FEES
     AND CHARGES
     (from Exhibit 4)                                 0.00        272,528.22         277,400.72      277,400.72
     PRIOR CHAPTER
     ADMIN. FEES AND
     CHARGES (from Exhibit 5)                         0.00              0.00                0.00            0.00
     PRIORITY UNSECURED
     CLAIMS (from Exhibit 6)                          0.00              0.00                0.00            0.00
 GENERAL UNSECURED
 CLAIMS (from Exhibit 7)                        569,335.00         78,933.53          78,933.53       63,333.17

 TOTAL DISBURSEMENTS                         $2,453,647.00    $1,747,734.41        $1,420,600.36   $1,405,000.00



        7KLVFDVHZDVRULJLQDOO\ILOHGXQGHU&KDSWHU7 on 01/10/2019.
The case was pending for 29 months.

         $OOHVWDWHEDQNVWDWHPHQWVGHSRVLWVOLSVDQGFDQFHOHGFKHFNVKDYHEHHQVXEPLWWHGWRWKH
United States Trustee.

          $QLQGLYLGXDOHVWDWHSURSHUW\UHFRUGDQGUHSRUWVKRZLQJWKHILQDODFFRXQWLQJRIWKHDVVHWVRI
the estate is attached as Exhibit 87KHFDVKUHFHLSWVDQGGLVEXUVHPHQWVUHFRUGVIRUHDFKHVWDWHEDQN
account, showing the final accounting of the receipts and disbursements of estate funds is attached as
Exhibit 9.

         Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.


Dated: 06/09/2021                    By: /s/ David K. Gottlieb
                                                                         Trustee




STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
$FWH[HPSWLRQ&)5 D  DSSOLHV




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                                                              EXHIBITS TO
                                                            FINAL ACCOUNT


EXHIBIT 1 - GROSS RECEIPTS

                                                                                                  UNIFORM                           $ AMOUNT
DESCRIPTION
                                                                                                 TRAN. CODEï                        RECEIVED
20118 Via Cellini Porter Ranch CA 91326 Los Angeles                                                   1110-000                       1,405,000.00

TOTAL GROSS RECEIPTS                                                                                                                $1,405,000.00

ï The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 - FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                  UNIFORM                           $ AMOUNT
PAYEE                                   DESCRIPTION
                                                                                                 TRANS. CODE                           PAID
                                                                       None

TOTAL FUNDS PAID TO DEBTOR & THIRD PARTIES


EXHIBIT 3 - SECURED CLAIMS

                                                       UNIFORM    CLAIMS
  CLAIM                                                                                      CLAIMS                 CLAIMS          CLAIMS
                           CLAIMANT                     TRAN.  SCHEDULED
   NO.                                                                                      ASSERTED               ALLOWED           PAID
                                                        CODE   (from Form 6D)
               Donoghue                                  4110-000                   0.00          10,000.00            10,000.00       10,000.00

               Seal Rock                                 4110-000          1,063,526.00        1,054,266.11          1,054,266.11    1,054,266.11

 NOTFILED Christina Ceniza                               4110-000             210,500.00                0.00                 0.00            0.00

 NOTFILED Christopher Donaghue                           4110-000              74,000.00                0.00                 0.00            0.00

 NOTFILED Kenny Rojas                                    4110-000              50,000.00                0.00                 0.00            0.00

    00001      Bank Of America, N.A.                     4210-000              67,260.00          67,164.48                  0.00            0.00

    00003      BMW Financial Services NA, LLC            4210-000                   0.00          54,842.07                  0.00            0.00

    00006      Leoncio Jaudalso Jr                       4210-000             210,000.00         210,000.00                  0.00            0.00

 NOTFILED Mercedes Benz Financial Servs                  4210-000              38,000.00                0.00                 0.00            0.00

 NOTFILED TD Auto Finance                                4210-000              97,326.00                0.00                 0.00            0.00

 NOTFILED Toyota Financial Services                      4210-000              35,700.00                0.00                 0.00            0.00

 NOTFILED Wells Fargo Dealer Services                    4210-000              38,000.00                0.00                 0.00            0.00

TOTAL SECURED CLAIMS                                                      $1,884,312.00       $1,396,272.66         $1,064,266.11   $1,064,266.11


EXHIBIT 4 - CHAPTER 7 ADMINISTRATIVE FEES and CHARGES




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                                            UNIFORM
                                                      CLAIMS          CLAIMS          CLAIMS         CLAIMS
                    PAYEE                    TRAN.
                                                    SCHEDULED        ASSERTED        ALLOWED          PAID
                                             CODE
D. Gottlieb & Associates LLC                 2100-000          N/A       65,400.00       65,400.00      65,400.00

David K. Gottlieb                            2200-000          N/A         129.85          129.85           129.85

Marshack Hays LLP                            3210-000          N/A       63,798.50       63,798.50      63,798.50

Marshack Hays LLP                            3220-000          N/A        5,415.84        5,415.84       5,415.84

Menchaca & Company LLP                       3410-000          N/A        3,470.50        3,470.50       3,470.50

Menchaca & Company LLP                       3420-000          N/A           20.45           20.45           20.45

Ultra Clean Pool and Spa                     2500-000          N/A            0.00         210.00           210.00

Property Management Professionals LLC        2500-000          N/A         275.00          275.00           275.00

Porter Ranch Maintenance Association         2500-000          N/A         116.20          116.20           116.20

Best Value Solar Energy Systems              2500-000          N/A            0.00         755.00           755.00

Dave Slauson                                 2500-000          N/A            0.00        2,902.50       2,902.50

Rafi Odabashian                              2500-000          N/A        1,500.00        1,500.00       1,500.00

MyNHD Inc                                    2500-000          N/A           74.95           74.95           74.95

A&A Escrow Services Inc                      2500-000          N/A        3,473.80        3,473.80       3,473.80

The Renaissance at Porter Ranch              2500-000          N/A        1,009.56        1,009.56       1,009.56

Accell Property Management, Inc.             2500-000          N/A         195.00          195.00           195.00

                                             2500-000          N/A        7,500.00        7,500.00       7,500.00

First American Title Company                 2500-000          N/A       56,923.57       56,923.57      56,923.57

Citrus Grove Real Estate & Lending           3510-000          N/A       47,418.75       47,418.75      47,418.75

Coldwell Banker                              3510-000          N/A       15,806.25       15,806.25      15,806.25

Todd Tisdell                                 3520-000          N/A            0.00         377.50           377.50

William Friedman                             3520-000          N/A            0.00         627.50           627.50

TOTAL CHAPTER 7 ADMIN. FEES and CHARGES                        N/A     $272,528.22     $277,400.72    $277,400.72


EXHIBIT 5 - PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                            UNIFORM
                                                      CLAIMS          CLAIMS          CLAIMS         CLAIMS
                    PAYEE                    TRAN.
                                                    SCHEDULED        ASSERTED        ALLOWED          PAID
                                             CODE
                                                        None

TOTAL PRIOR CHAPTER ADMIN. FEES and CHARGES


EXHIBIT 6 - PRIORITY UNSECURED CLAIMS




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                                                 UNIFORM    CLAIMS                 CLAIMS
 CLAIM                                                                            ASSERTED           CLAIMS        CLAIMS
                      CLAIMANT                    TRAN.  SCHEDULED
  NO.                                                                            (from Proofs of    ALLOWED         PAID
                                                  CODE   (from Form 6E)
                                                                                     Claim)

                                                             None

TOTAL PRIORITY UNSECURED CLAIMS                                           N/A


EXHIBIT 7 - GENERAL UNSECURED CLAIMS

                                                 UNIFORM    CLAIMS                 CLAIMS
 CLAIM                                                                            ASSERTED           CLAIMS        CLAIMS
                      CLAIMANT                    TRAN.  SCHEDULED
  NO.                                                                            (from Proofs of    ALLOWED         PAID
                                                  CODE   (from Form 6F)
                                                                                     Claim)
  00002    U.S. Bank National Association         7100-000                0.00           5,118.31       5,118.31       5,118.31
           Bankruptcy Department
  00004    Chase Bank USA, N.A. c/o Robertson,    7100-000             205.00              552.70        552.70           552.70
           Anschutz & Schneid, P.L.
  00005    American Express Centurion Bank c/o    7100-000            6,040.00           6,220.90       6,220.90       6,220.90
           Becket and Lee LLP
  00007    Basil Sunday Ngene                     7100-000           10,100.00          10,075.00      10,075.00      10,075.00

  00008    Toyota Motor Credit Corporation c/o    7200-000                N/A           44,325.63      44,325.63      32,187.02
           Becket and Lee LLP
  00009    Toyota Motor Credit Corporation c/o    7200-000                N/A           12,640.99      12,640.99       9,179.24
           Becket and Lee LLP
NOTFILED Acura Financial Services                 7100-000           83,300.00               0.00           0.00            0.00

NOTFILED Bank of America                          7100-000            4,300.00               0.00           0.00            0.00

NOTFILED Bank of America                          7100-000           19,700.00               0.00           0.00            0.00

NOTFILED BMW Bank of North America                7100-000          100,000.00               0.00           0.00            0.00

NOTFILED Citi                                     7100-000           12,750.00               0.00           0.00            0.00

NOTFILED Discover Personal Loans                  7100-000           17,340.00               0.00           0.00            0.00

NOTFILED LT Real Estate Developments LLC          7100-000          210,000.00               0.00           0.00            0.00

NOTFILED US Bank                                  7100-000           83,000.00               0.00           0.00            0.00

NOTFILED US Bank                                  7100-000            5,600.00               0.00           0.00            0.00

NOTFILED US Bank National Association             7100-000           17,000.00               0.00           0.00            0.00

TOTAL GENERAL UNSECURED CLAIMS                                  $569,335.00            $78,933.53     $78,933.53     $63,333.17




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                                                                                       FORM 1                                                                                                   Exhibit 8
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                                                                                                                Page: 1
                                                                                    ASSET CASES
Case Number:         19-10059 VK                                                                                    Trustee:                        David K. Gottlieb
Case Name:           AURORA FRIAS LEE-NELSON                                                                        Filed (f) or Converted (c):     01/10/19 (f)
                                                                                                                     D 0HHWLQJ'DWH           02/15/19
Period Ending: 06/09/21                                                                                             Claims Bar Date:                07/08/19

                                          1                                         2                              3                          4                     5                       6
                                                                                                          Estimated Net Value                                                          Asset Fully
                                                                                 Petition/           (Value Determined By Trustee,         Property            Sale/Funds           Administered (FA)/
                                 Asset Description                             Unscheduled              Less Liens, Exemptions,          Abandoned             Received by           Gross Value of
Ref #                 (Scheduled And Unscheduled (u) Property)                    Values                    and Other Costs)          2$  D $EDQGRQ        the Estate          Remaining Assets

  1     20118 Via Cellini Porter Ranch CA 91326 Los Angeles                        1,400,000.00                         278,600.00                                 1,405,000.00            FA

  2     2016 Cadillac Escalade Mileage Unknown - Debtor believed                        44,000.00                              0.00                                          0.00          FA
        that she had traded this car in for another car, but later found
        out she is still the title owner and she is still being billed for
        outstanding loan amount. Debtor does not know who has
        possess
        No value to estate. Abandon at close.
  3     2018 Lexus LX570 Mileage 9000 Leased; In possession of                                0.00                             0.00                                          0.00          FA
        Joey Shula
        Little or no value to estate. Abandon at close.
  4     2018 Mercedes GLC 300W Mileage Unknown - This car was                           31,000.00                              0.00                                          0.00          FA
        purchased by an unknown person through identity theft of
        Debtor's credit information. Debtor does not know who has
        possession of this car
        No value to estate. Abandon at close.
  5     2018 Mercedes GLE Mileage Unknown - This car was                                82,000.00                              0.00                                          0.00          FA
        purchased by an unknown person through identity theft of
        Debtor's credit information. Debtor does not know who has
        possession of this car.
        No value to estate. Abandon at close.
  6     2017 Toyota RAV4 Mileage 18,000                                                 24,000.00                              0.00                                          0.00          FA
        Liens exceed value. Abandon at close.
  7     2018 Mercedes GLA Mileage 5,000                                                 27,000.00                              0.00                                          0.00          FA
        Liens exceed value. Abandon at close.
  8     Furniture, Refrigerator, Washer & Dryer                                          1,300.00                              0.00                                          0.00          FA
        Little or no value to estate. Abandon at close.
  9     Televisions(2), Computers (2 Laptops), Cell Phones                               1,200.00                              0.00                                          0.00          FA
        Little or no value to estate. Abandon at close.
 10     Everyday clothes                                                                 1,000.00                              0.00                                          0.00          FA
        Little or no value to estate. Abandon at close.
 11     Cash                                                                                 80.00                             0.00                                          0.00          FA
        Little or no value to estate. Abandon at close.
 12     Bank of America Checking                                                         3,000.00                              0.00                                          0.00          FA
        Little or no value to estate. Abandon at close.
 13     US Bank                                                                           300.00                               0.00                                          0.00          FA
        Little or no value to estate. Abandon at close.
                                    Case 1:19-bk-10059-VK                    Doc 160 Filed 06/21/21 Entered 06/21/21 15:54:21                                    Desc
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                                                                                     FORM 1                                                                                                        Exhibit 8
                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                                                                                                                   Page: 2
                                                                                  ASSET CASES
Case Number:         19-10059 VK                                                                                   Trustee:                         David K. Gottlieb
Case Name:           AURORA FRIAS LEE-NELSON                                                                       Filed (f) or Converted (c):      01/10/19 (f)
                                                                                                                    D 0HHWLQJ'DWH            02/15/19
Period Ending: 06/09/21                                                                                            Claims Bar Date:                 07/08/19

                                         1                                          2                             3                           4                       5                        6
                                                                                                         Estimated Net Value                                                              Asset Fully
                                                                                 Petition/          (Value Determined By Trustee,         Property               Sale/Funds            Administered (FA)/
                                 Asset Description                             Unscheduled             Less Liens, Exemptions,          Abandoned                Received by            Gross Value of
 Ref #                (Scheduled And Unscheduled (u) Property)                    Values                   and Other Costs)          2$  D $EDQGRQ           the Estate           Remaining Assets

  14     IRA: Edward Jones                                                               1,400.00                             0.00                                             0.00           FA
         Little or no value to estate. Abandon at close.
  15     Unpaid Loan to Sesiree Melendres Magcalas, 16015 E. Oatfield                   10,000.00                             0.00                                             0.00           FA
         Ave., Milwaukee, OR 97267
         Little or no value to estate. Abandon at close.
  16     Elderly Financial Abuse and Other Claims in Lawsuit Disclosed                  25,000.00                             0.00                                             0.00           FA
         in Statement of Financial Affairs
         Little or no value to estate. Abandon at close.
  17     Computers, Fax Machines, Desk, Chairs                                           1,000.00                             0.00                                             0.00           FA
         Little or no value to estate. Abandon at close.
TOTALS (Excluding Unknown Values)                                                 $1,652,280.00                      $278,600.00                                    $1,405,000.00                     $0.00
Major activities affecting case closing:
STATUS AS OF 6/30/2020:

All assets have been fully administered.

Professionals: Trustee has employed Menchaca & Company LLP as accountants.

Taxes: Trustee's accountants are currently preparing final estate returns.

Claims: Trustee's counsel filed an objection to Claim No. 6. On 3/17/2020 the court granted the objection and disallowed Claim No. 6.

The Trustee has completed his review of all other filed proofs of claim.

The Current Projected TFR Date remains as previously reported as 12/31/2020.


STATUS AS OF 6/30/2019:

This case was commenced on 1/10/19 when the Debtor filed a voluntary bankruptcy petition under Chapter 7 of the Bankruptcy Code.

The Notice of Assets was filed with the Court on 4/4/19.

Professionals: The Trustee has employed Marshack Hays LLP as general bankruptcy counsel.

Asset # 1: In her Schedule A, Debtor lists ownership of real property located at 20118 Via Cellini Los Angeles, California 91326 with a scheduled value of $1.4 million ³Property´ Trustee obtained a
broker price opinion indicating the property was worth closer to $1.3 million.

Schedule D reflects that the Property is encumbered by the following secured claims:
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                                                                                   FORM 1                                                                                                          Exhibit 8
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                                                                                                                   Page: 3
                                                                                ASSET CASES


a deed of trust held by Seal Rock to secure a claim of $1,063,526.00 ³Seal Rock Claim´ 

a deed of trust held by Mr. Donaghue, to secure a claim of $74,000 ³Donaghue Claim´ 

a deed of trust in favor of Leoncio Jaudalso Jr. in the amount of $210,000 [The Trustee now stands in the shoes of this lienholder by operation of default entered on 6/13/19];

a deed of trust in favor of Kenny Rojas in the amount of $50,000 [The Trustee now stands in the shoes of this lienholder by operation of default entered on 6/11/19] ; and

a deed of trust in favor of Christina Ceniza and Kenny Rojas in the amount of $210,500 [The Trustee now stands in the shoes of this lienholder by operation of default entered on 6/11/19].

Trustee¶s investigation has also identified that the Property is also encumbered by a deed of trust in favor of Nicole Ceniza in the amount of $50,000.

On Schedule B, Debtor discloses that she may have legal claims ³Litigation Claims´ for ³Elderly Financial Abuse and Other Claims in Lawsuit Disclosed in Statement of Financial Affairs.´In her
Statement of Financial Affairs, Debtor disclosed a lawsuit [Case No PC058775 ³State Court Action´ Thereafter, the State Court Action was removed to the bankruptcy court commencing adversary
case no. 1:19-ap-01032-VK ³Adversary´ On April 18, 2019, Trustee filed a stipulation in which Seal Rock was dismissed from the Adversary without prejudice. On the same day, Trustee filed a first
amended complaint ³FAC´ against Kenny Rojas, Danai Junpram, Christina Ceniza, Nicole Ceniza, and Leoncio Juadalso. Mr. Donaghue was not named as a defendant in the FAC. On June 11, 2019
and June 13, 2019, the clerk entered default against all named defendants in the FAC. On June 15, 2019 a motion seeking entry of default judgments as to all defendants was filed] which she filed
against all entities and individuals with secured liens against the Property including, Seal Rock and Mr. Donaghue, with the nature of the claims being described as ³Alleges elderly financial abuse
against many defendants, all of whom are listed in the present bankruptcy filing as purported creditors«Complaint for moneys due.´Seal Rock and Mr. Donaghue contend that the Litigation Claims lack
merit and specifically deny any and all of Debtor¶s claims. They further have provided evidence that they actually advanced the funds to Debtor that are secured by their deeds of trust.

In light of written documentation provided by Debtor and information uncovered during the course of the Trustee¶s investigation, the Trustee is in the process of obtaining court approval of an agreement
to resolve all issues related to the Seal Rock Claim, Donaghue Claim, and the Litigation Claims in order to avoid the uncertainty, cost, and expense associated with litigation ³Agreement´ The
Agreement also provides the Property will be sold with the Estate to receive a portion of the sales proceeds. The recovery to the estate from the Agreement and sale of the Property is estimated to be
between $208,800 and $278,600.

The Trustee anticipates being able to file the motion for, and obtain court approval of, the Agreement within the next 30-45 days. The Trustee has already engaged brokers to sell the Property and
anticipates being able to file a sale motion within the next 60 days.

Claims: The Trustee has completed a cursory review of claims. He will complete a more in-depth claims review when the sale of the real property has been completed.

Taxes: The Trustee will hire an accountant to prepare estate returns when sale of the real property has been completed.

Initial Projected TFR Date: 12/31/2020

Initial Projected Date of Final Report (TFR): December 31, 2020                                         Current Projected Date of Final Report (TFR): January 07, 2021 (Actual)

                June 09, 2021                                                                                             /s/ David K. Gottlieb
                    Date                                                                                                  David K. Gottlieb
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                                                                      Form 2                                                                                               Exhibit 9

                                                      Cash Receipts and Disbursements Record                                                                               Page: 1

Case Number:          19-10059 VK                                                                  Trustee:                David K. Gottlieb
Case Name:            AURORA FRIAS LEE-NELSON                                                      Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******6084 - Checking Account
Taxpayer ID#:         **-***2562                                                                   Blanket Bond:           $45,000,000.00 (per case limit)
Period Ending:        06/09/21                                                                     Separate Bond:          N/A

   1             2                    3                                           4                                                 5                  6               7

 Trans.    Check or                                                                                            Uniform           Receipts       Disbursements      Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                 $         Account Balance

01/28/20              A & A Escrow Services Inc          Net Sales Proceeds 20118 Via Cellini, Porter                             161,818.31                         161,818.31
                                                         ranch, CA

01/28/20   Asset #1                                      Gross Sale Proceeds                  1,405,000.00 1110-000                                                  161,818.31

01/28/20                                                 Seller's credit to Buyer for               -7,500.00 2500-000                                               161,818.31
                                                         repairs

01/28/20                                                 Acct. Balance as of                        -1,066.73 2500-000                                               161,818.31
                                                         1/17/2020 to The
                                                         Renaissance at Porter Ranch

01/28/20                                                 HOA Transfer Fee to                         -275.00 2500-000                                                161,818.31
                                                         Property Management
                                                         Professionals LLC

01/28/20                                                 Payment to Donoghue                       -10,000.00 4110-000                                               161,818.31

01/28/20                                                 Payment to Dave Slauson re:                  -45.00 2500-000                                                161,818.31
                                                         Final Cleaning Invoice

01/28/20                                                 Payment to Best Value Solar                 -375.00 2500-000                                                161,818.31
                                                         Energy Systems for Tile
                                                         Repair

01/28/20                                                 Payment to Todd Tisdell for                 -187.50 3520-000                                                161,818.31
                                                         Reimbursement of Tile Repair

01/28/20                                                 Payment to William Friedman                 -187.50 3520-000                                                161,818.31
                                                         - Reimbursement of Tile
                                                         Repair
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                                                      Cash Receipts and Disbursements Record                                                                             Page: 2

Case Number:          19-10059 VK                                                                Trustee:                David K. Gottlieb
Case Name:            AURORA FRIAS LEE-NELSON                                                    Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******6084 - Checking Account
Taxpayer ID#:         **-***2562                                                                 Blanket Bond:           $45,000,000.00 (per case limit)
Period Ending:        06/09/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6               7

 Trans.    Check or                                                                                          Uniform           Receipts       Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                 $         Account Balance

01/28/20                                                 Payment to Best Value Solar               -380.00 2500-000                                                161,818.31
                                                         Energy Systems

01/28/20                                                 Todd Tisdell for                          -190.00 3520-000                                                161,818.31
                                                         Reimbursement of Solar
                                                         Panel Removal

01/28/20                                                 William Friedman for                      -190.00 3520-000                                                161,818.31
                                                         Reimbursement of Solar
                                                         Panel Removal

01/28/20                                                 William Friedman for                      -250.00 3520-000                                                161,818.31
                                                         Reimbursement of Filter and
                                                         Cleaning

01/28/20                                                 Payment to Ultra Clean Pool               -210.00 2500-000                                                161,818.31
                                                         and Spa

01/28/20   Asset #1                                      Deposit in Possession of                -39,750.00 1110-000                                               161,818.31
                                                         Trustee

01/28/20                                                 Payment to Dave Slauson re:              -2,857.50 2500-000                                               161,818.31
                                                         Pool

01/28/20                                                 Reimbursement for City                     -72.80 2500-000                                                161,818.31
                                                         Report Application Fee

01/28/20                                                 Payment to Seal Rock               -1,054,266.11 4110-000                                                 161,818.31

01/28/20                                                 File Archive Fee                           -50.00 2500-000                                                161,818.31

01/28/20                                                 Messenger/FedEx Fees                       -62.50 2500-000                                                161,818.31
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                                                      Cash Receipts and Disbursements Record                                                                               Page: 3

Case Number:          19-10059 VK                                                                  Trustee:                David K. Gottlieb
Case Name:            AURORA FRIAS LEE-NELSON                                                      Bank Name:              Texas Capital Bank
                                                                                                   Account:                ******6084 - Checking Account
Taxpayer ID#:         **-***2562                                                                   Blanket Bond:           $45,000,000.00 (per case limit)
Period Ending:        06/09/21                                                                     Separate Bond:          N/A

   1             2                    3                                           4                                                 5                  6               7

 Trans.    Check or                                                                                            Uniform           Receipts       Disbursements      Checking
  Date      Ref. #          Paid To / Received From                   Description of Transaction              Tran. Code            $                 $         Account Balance

01/28/20                                                 Drawing Documentation Fee                    -75.00 2500-000                                                161,818.31

01/28/20                                                 1099 Processing Fee                          -75.00 2500-000                                                161,818.31

01/28/20                                                 Escrow Fee                                 -2,107.50 2500-000                                               161,818.31

01/28/20                                                 2nd 1/2 Taxes 2019 - 2020                  -9,201.00 2820-000                                               161,818.31

01/28/20                                                 1st 1/2 Taxes 2019 - 2020 +               -10,121.12 2820-000                                               161,818.31
                                                         Late Fee to Los Angeles
                                                         County Tax Collector

01/28/20                                                 Defaulted Taxes good thru                 -34,437.27 2820-000                                               161,818.31
                                                         Jan. 2020

01/28/20                                                 Transfer Tax - City to City of             -6,322.50 2820-000                                               161,818.31
                                                         Los Angeles

01/28/20                                                 Transfer Tax - County of Los               -1,545.50 2820-000                                               161,818.31
                                                         Angeles County

01/28/20                                                 SB2 Recording Fee:                          -225.00 2500-000                                                161,818.31
                                                         Reconveyance by Donoghue

01/28/20                                                 SB2 Recording Fee:                          -225.00 2500-000                                                161,818.31
                                                         Reconveyance by Seal Rock

01/28/20                                                 Recording Full                               -49.00 2500-000                                                161,818.31
                                                         Reconveyance - Donoghue
                                                         +SB2
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                                                      Cash Receipts and Disbursements Record                                                                             Page: 4

Case Number:          19-10059 VK                                                                Trustee:                David K. Gottlieb
Case Name:            AURORA FRIAS LEE-NELSON                                                    Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******6084 - Checking Account
Taxpayer ID#:         **-***2562                                                                 Blanket Bond:           $45,000,000.00 (per case limit)
Period Ending:        06/09/21                                                                   Separate Bond:          N/A

   1             2                    3                                          4                                                5                  6               7

 Trans.    Check or                                                                                          Uniform           Receipts       Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                 $         Account Balance

01/28/20                                                 Recording Full                             -49.00 2500-000                                                161,818.31
                                                         Reconveyance - Seal Rock
                                                         +SB2

01/28/20                                                 Recording Court Order                      -35.00 2500-000                                                161,818.31
                                                         Approving Sale

01/28/20                                                 Sub Escrow Fee                             -62.50 2500-000                                                161,818.31

01/28/20                                                 Owner's Title Insurance                  -2,676.00 2500-000                                               161,818.31

01/28/20                                                 Reimbursement of original                -1,500.00 2500-000                                               161,818.31
                                                         Buyer's costs incurred

01/28/20                                                 Reimbursement of updated                  -301.00 2500-000                                                161,818.31
                                                         HOA Demand

01/28/20                                                 Reimbursement of HOA Doc                  -240.00 2500-000                                                161,818.31
                                                         Fee (Renaissance at Porter
                                                         Ranch)

01/28/20                                                 Reimbursement of HOA Doc                  -490.00 2500-000                                                161,818.31
                                                         Fee (Porter Ranch
                                                         Maintenance Assoc.)

01/28/20                                                 NHD Disclosure Report                      -74.95 2500-000                                                161,818.31

01/28/20                                                 Acct. Balance (Nov. 19 - Jan              -126.00 2500-000                                                161,818.31
                                                         2020)

01/28/20                                                 HOA Transfer Fee                          -195.00 2500-000                                                161,818.31
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                                                      Cash Receipts and Disbursements Record                                                                             Page: 5

Case Number:          19-10059 VK                                                                Trustee:                David K. Gottlieb
Case Name:            AURORA FRIAS LEE-NELSON                                                    Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******6084 - Checking Account
Taxpayer ID#:         **-***2562                                                                 Blanket Bond:           $45,000,000.00 (per case limit)
Period Ending:        06/09/21                                                                   Separate Bond:          N/A

   1             2                    3                                         4                                                 5                  6               7

 Trans.    Check or                                                                                          Uniform           Receipts       Disbursements      Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                 $         Account Balance

01/28/20                                                 Real Estate Commission                  -15,806.25 3510-000                                               161,818.31
                                                         Charges

01/28/20                                                 Real Estate Commission                  -31,612.50 3510-000                                               161,818.31
                                                         Charges

01/28/20                                                 Real Estate Commission                  -15,806.25 3510-000                                               161,818.31
                                                         Charges

01/28/20              Porter Ranch Maintenance           HOA: Porter Ranch                            9.80 2500-000                                                161,818.31
                      Association                        Maintenance Assoc.) at
                                                         $42.00/monthly from
                                                         01/24/2020 to 02/01/2020

01/28/20              The Renaissance at Porter Ranch HOA: Reinassance at Porter                     57.17 2500-000                                                161,818.31
                                                      Ranch at $245.00/monthly
                                                      from 01/24/2020 to
                                                      02/01/2020

01/28/20              First American Title Company       2nd 1/2 Taxes 2019-2020 at               8,025.32 2820-000                                                161,818.31
                                                         $9,201.00/semi-annually from
                                                         01/24/2020 to 07/01/2020

01/28/20              LEE-NELSON, AURORA FRIAS           From #####6175 To #####6084                        9999-000              39,750.00                        201,568.31
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Case Number:          19-10059 VK                                                                Trustee:                David K. Gottlieb
Case Name:            AURORA FRIAS LEE-NELSON                                                    Bank Name:              Texas Capital Bank
                                                                                                 Account:                ******6084 - Checking Account
Taxpayer ID#:         **-***2562                                                                 Blanket Bond:           $45,000,000.00 (per case limit)
Period Ending:        06/09/21                                                                   Separate Bond:          N/A

   1             2                     3                                        4                                                 5                  6                    7

 Trans.    Check or                                                                                          Uniform           Receipts       Disbursements           Checking
  Date      Ref. #          Paid To / Received From                 Description of Transaction              Tran. Code            $                 $              Account Balance

07/08/20              Signature Bank                     Transfer to account ending 8917                    9999-000                               201,568.31                    0.00


                                                                               ACCOUNT TOTALS                                   201,568.31         201,568.31                   $0.00
                                                                                  Less: Bank Transfers                           39,750.00         201,568.31

                                                                               Subtotal                                         161,818.31                  0.00
                                                                                  Less: Payment to Debtors                                                  0.00

                                                                               NET Receipts / Disbursements                    $161,818.31                 $0.00
                            Case 1:19-bk-10059-VK            Doc 160 Filed 06/21/21 Entered 06/21/21 15:54:21                                  Desc
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                                                      Cash Receipts and Disbursements Record                                                                                   Page: 7

Case Number:          19-10059 VK                                                                 Trustee:                David K. Gottlieb
Case Name:            AURORA FRIAS LEE-NELSON                                                     Bank Name:              Texas Capital Bank
                                                                                                  Account:                ******6175 - Seg. Overbid Checking Account
Taxpayer ID#:         **-***2562                                                                  Blanket Bond:           $45,000,000.00 (per case limit)
Period Ending:        06/09/21                                                                    Separate Bond:          N/A

   1             2                    3                                          4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts       Disbursements           Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                 $              Account Balance

01/08/20   Asset #1   Wells Fargo Cashier's Check -      Overbid deposit Via Celini                          1110-000              39,750.00                              39,750.00
                      Gurbachan Grewal
01/28/20              LEE-NELSON, AURORA FRIAS           From #####6175 To #####6084                         9999-000                                 39,750.00                   0.00


                                                                                ACCOUNT TOTALS                                     39,750.00          39,750.00                  $0.00
                                                                                   Less: Bank Transfers                                 0.00          39,750.00

                                                                                Subtotal                                           39,750.00                 0.00
                                                                                   Less: Payment to Debtors                                                  0.00

                                                                                NET Receipts / Disbursements                     $39,750.00                 $0.00
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Case Number:          19-10059 VK                                                                 Trustee:                David K. Gottlieb
Case Name:            AURORA FRIAS LEE-NELSON                                                     Bank Name:              Signature Bank
                                                                                                  Account:                ******8917 - Checking Account
Taxpayer ID#:         **-***2562                                                                  Blanket Bond:           $45,000,000.00 (per case limit)
Period Ending:        06/09/21                                                                    Separate Bond:          N/A

   1             2                        3                                      4                                                 5                  6                    7

 Trans.    Check or                                                                                           Uniform           Receipts       Disbursements           Checking
  Date      Ref. #          Paid To / Received From                  Description of Transaction              Tran. Code            $                 $              Account Balance

07/08/20              Texas Capital Bank                  Transfer from account ending 6084                  9999-000            201,568.31                              201,568.31

03/22/21     1001     D. Gottlieb & Associates LLC        Dividend of 100.000000000%.                        2100-000                                65,400.00           136,168.31

03/22/21     1002     David K. Gottlieb                   Dividend of 100.000000000%.                        2200-000                                     129.85         136,038.46

03/22/21     1003     Marshack Hays LLP                   Dividend of 100.000000000%.                        3210-000                                63,798.50            72,239.96

03/22/21     1004     Marshack Hays LLP                   Dividend of 100.000000000%.                        3220-000                                  5,415.84           66,824.12

03/22/21     1005     Menchaca & Company LLP              Dividend of 100.000000000%.                        3410-000                                  3,470.50           63,353.62

03/22/21     1006     Menchaca & Company LLP              Dividend of 100.000000000%.                        3420-000                                       20.45         63,333.17

03/22/21     1007     U.S. Bank National Association      Dividend of 100.000000000%, Claim No.00002. 7100-000                                         5,118.31           58,214.86
                      Bankruptcy Department

03/22/21     1008     Chase Bank USA, N.A. c/o            Dividend of 100.000000000%, Claim No.00004. 7100-000                                            552.70          57,662.16
                      Robertson, Anschutz & Schneid,
                      P.L.
03/22/21     1009     American Express Centurion Bank Dividend of 100.000000000%, Claim No.00005. 7100-000                                             6,220.90           51,441.26
                      c/o Becket and Lee LLP

03/22/21     1010     Basil Sunday Ngene                  Dividend of 100.000000000%, Claim No.00007. 7100-000                                       10,075.00            41,366.26


03/22/21     1011     Toyota Motor Credit Corporation     Dividend of 72.614910276%, Claim No.00008.         7200-000                                32,187.02                 9,179.24
                      c/o Becket and Lee LLP
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Case Number:          19-10059 VK                                                               Trustee:                David K. Gottlieb
Case Name:            AURORA FRIAS LEE-NELSON                                                   Bank Name:              Signature Bank
                                                                                                Account:                ******8917 - Checking Account
Taxpayer ID#:         **-***2562                                                                Blanket Bond:           $45,000,000.00 (per case limit)
Period Ending:        06/09/21                                                                  Separate Bond:          N/A

   1             2                    3                                        4                                                 5                     6                 7

 Trans.    Check or                                                                                         Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From                Description of Transaction              Tran. Code            $                    $           Account Balance

03/22/21     1012     Toyota Motor Credit Corporation    Dividend of 72.614910276%, Claim No.00009.        7200-000                                    9,179.24                 0.00
                      c/o Becket and Lee LLP

                                                                              ACCOUNT TOTALS                                   201,568.31           201,568.31                 $0.00
                                                                                 Less: Bank Transfers                          201,568.31                 0.00

                                                                              Subtotal                                                   0.00       201,568.31
                                                                                 Less: Payment to Debtors                                                 0.00

                                                                              NET Receipts / Disbursements                           $0.00         $201,568.31


                                                                                                                                   Net               Net                Account
                                                                                   TOTAL - ALL ACCOUNTS                          Receipts       Disbursements           Balances
                                                                                   Checking # ******6084                       161,818.31                  0.00                 0.00
                                                                                   Checking # ******6175                         39,750.00                 0.00                 0.00
                                                                                   Checking # ******8917                                 0.00       201,568.31                  0.00
                                                                                                                              $201,568.31          $201,568.31                 $0.00
